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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PANAMA CITY DIVISION

IN RE: CASE NO: 17-50116-KKS
CHAPTER 7

WHITE, RICARDO FREDERICK

WHITE, CHRISTINE CARRIE,

Debtor(s).

 

MARY W. COLON, TRUSTEE,

Plaintiff,
VS. Adversary Case No.

JAMES A. WHITE and JULIAN D. FERNANDEZ,

Defendants.

COMPLAINT
COMES NOW Plaintiff, MARY W. COLON, CHAPTER 7
TRUSTEE, by and through her undersigned attorney, and sues the
Defendants, JAMES A. WHITE and JULIAN D. FERNANDEZ and states:
1. Plaintiff, MARY W. COLON, CHAPTER 7 TRUSTEE

(hereinafter “Trustee” or “Plaintiff’) is the duly appointed Chapter 7

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Bankruptcy Trustee in the Chapter 7 case of Ricardo Frederick White
and Christine Carrie White, Case No. 17-50116 - KKS.

2. Defendant James A. White, based on information and belief,
is a resident of Alabama.

3. Defendant Julia Duke Fernandez, based on information and
belief, is a resident of Georgia.

4. At the time of filing, Debtor RICARDO FREDERICK WHITE
and JAMES A. WHITE were the co-owners of property located at 3817
Moss Hill Road, Chipley, Florida more specifically described as follows:

Commence at the Northwest corner of the SW 1/4 of the NW 1/4
of Section 17, Township 2 North, Range 14 West for a Point of
Beginning, thence run N 89°15'28"E for 1334.73 feet, thence S
01°57' O3"E for 1668.36 feet to a point of intersection with the
right-of-way of state Road #279, thence along said right-of-way S
44° 43'47"W for 51.55 feet, thence along said right-of-way N
45°16' 13"W for 1575.00 feet, thence along said right-of-way S
44°43'47" W for 10.00 feet, thence along said right-of-way N
45°16'13"W for 303.93 feet to the West line of the SW 1/4 of the
NW 1/4 of Section 17, Township 2 North, Range 14 West, thence
N 02°02'06"w for 391.75 feet to the Point of Beginning; said parcel
being that portion of the SW 1/4 of the NW 1/4 and the NW 1/4 of
the SW (1/4) of Section 17. Township 2 North, Range 14 West,
lying North and East of the right-of-way of State Road S-279, more
or less, in Washington County, Florida.

hereinafter “the Property”.

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5. Acopy of the deed is attached hereto as Exhibit “A”.

6. The property was acquired by Debtor and Defendant James
A. White in 1995."

7. Defendant Julian Fernandez attempted to convey his interest
to the property to Debtor and Defendant James A. White in 1995.

8. The property has equity.

9. Trustee has attempted to sell the Estate’s share in the
property to James A. White but Defendant White has failed to complete a
purchase.

10. The property appraiser estimates the value at $49,230.00.

11. The current mortgage balance is estimated to be less than
$7,000.

12. The Court has jurisdiction over the subject matter of and
parties to this action

13. All conditions precedent to the bringing of this action have

been performed and/or have occurred.

 

1 Prior to this time, Debtor Ricardo White and Defendant
Julian Duke Fernandez were in title to the property.

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Count |

Sale of Property
14. Pursuant to 11 U.S.C. §363(h) a trustee may sell both the

estate’s interest and the interest of any co-owner in property.

15. Plaintiff incorporates by reference paragraphs one through
thirteen above.

16. The partition in kind of the Property is impracticable due to the
shape of the property.

17. The sale of the estate’s one-half interest would realize
significantly less than a sale of the entire property.

18. The benefit to the estate is greater than the detriment to the
co-owner. This is the main asset subject to administration.

19. The co-owner will be paid for his interest in the property.

20. The Property is not used in the production, transmission, or
distribution, for sale of electric energy or natural or synthetic gas for heat,
light, or power.

WHEREFORE, Plaintiff Mary W. Colén, chapter 7 trustee,

respectfully requests entry of a judgment against Defendant James A.

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White authorizing Trustee to market the property for sale and to sale the
property upon motion and approval by this Court in the administrative
case and granting such further relief as this court deems proper.

Count Il
Declaratory Judgment

21. Defendant Julian Duke Fernandez has been named as he
may have an interest in the property due to the nature of the deed he
signed. It is unclear whether the deed was properly witnessed and
notarized from the recorded copy.

22. Plaintiff incorporates by reference paragraphs one through
thirteen above.

23. The claim of Defendant Julian Duke Fernandez is without any
right whatsoever, and Defendant Fernandez has no right, estate, title, lien
or interest in or to the Property, or any party of the Property.

24. Defendant Fernandez has abandoned the Property. The
Plaintiff and James A. White now have possession of the Property.

25. Plaintiff is unable to convey the Property until this matter is

resolved.

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26. The rights and status of the Plaintiff may be determined b this
Court pursuant to Fla. Stat. s. 86.021, and the Plaintiff may obtain from
this Court a declaration of Plaintiffs rights and status thereunder,
pursuant to this Court’s powers under Chapter 86, Florida Statutes.

WHEREFORE, Plaintiff, MARY W. COLON, CHAPTER 7
TRUSTEE, respectfully requests entry of a judgment quieting title to the
property in Plaintiff and James A. White and granting such further relief
as this Court deems appropriate.

DATED this March 8, 2018.

/s/ Mary W. Colon

MARY W. COLON

Smith, Thompson, Shaw, et al
Florida Bar No. 0184012
Post Office Box 14596
Tallahassee, FL. 32317

Telephone: (850) 241-0144
Fax: (850) 702-0735

trustee@marycolon.com

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QUIT-CLAIM DEED—File 9 §. 8. & P.Co., Valdosta
FLORIDA)
@meres,. VASHIN ETON ccc County.

 

THIS INDENTURE, made and entered into this-@eD-T24... day of -.AYUOUYS7—
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WITNESSETH: That the said part. of the first part, for and in consideration of the sum Of nnn
wl EM. AMD. 002 ——T.. Dollars

cash in hand paid, the receipt whereof is hereby acknowledged, has®.... bargained and sold by these

 

 

 

 

 

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assigns, all the right, title, interest, claim or demand the said partum of the first part, ha Bavaro, and

may have had in all that tract or parcel of land, situate, lying and being in

 

Commence at the Northwest corner of the SW 1/4 of the NW 1/4 of
Section 17, Township 2 North, Range 14 West for a Point of Regin-
ning, thence run N 89°15'28"E for 1334.73 feel, thence $ 01°5T'
O3"E for 1668.36 feet to a point of intersection with the vight-
of-way uf state Road #279, lthance along said right-of-way $ 44
43°47"W for 51.55 feet, thence along said right-of-way N 45°16'
13°W for 1575.00 feet, thence along said right-of-way 5 44°49 '47"
W for 10.00 feet, thence along said right-of-way N 45°16'13"W for
303.03 feat to the West line of the SW 1/4 of the NW 3/4 of Sec-
tion 17, Township 2 North, Range 14 West, thence N 02 02'0G"W for
491.75 feet to the Point of Beginning; said parcel being that
portion of the SW 1/4 of the NW 1/4 and the NW 1/4 of the SW 1/4
of Section 17, Township 2 North, Range t4 West, lying North and
East of the right-of-way of Stale Road 8-270, more ur less, in
Washington County, Florida,

(nst EY Date: 01/09/2003 Vines09:24

Joe Stasp-Peed : 8,78

DC,LINDA H, COOK, WASHINGTON County B:456 P2134

With all and singular the rights, members and appurtenances to said described property, in any wise appertain-

ing and belonging.

 
   
   

TO HAVE AND TO HOLD the said described property to the said parton Of the second part,
so thae neither the said part. of the first part nor «Af LE... heirs, nor any other person or persons claiming

under ALIA ca cccscsssey shall at any time hereafter, by any way or means, have, claim or demand any right

           
   

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EXHIBIT

Mogtt

 

 
 

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B104 (FORM 104) (08/07)

 

 

 

ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER
(Instructions on Reverse) (Court Use Only)
PLAINTIFFS DEFENDANTS

Mary W. Colon, Trustee

James A. White and Julian D. Fernandez

 

ATTORNEYS (Firm Name, Address, and Telephone No.)
Smith, Thompson et al, 3520 Thomasville Rd

4th Floor, Tallahassee, FL 32309
(850) 893-4105

ATTORNEYS (If Known)

 

PARTY (Check One Box Only)

 

PARTY (Check One Box Only)

o Debtor o U.S. Trustee/Bankruptcy Admin O Debtor O U.S. Trustee/Bankruptcy Admin
o Creditor 0 Other O Creditor 30 Other
& Trustee G Trustee

 

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Approval of sale of property. and declaratory judgment.

 

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as 1,

first alternative cause as 2, second alternative cause as 3, etc.)

 

FRBP 7001(1) — Recovery of Money/Property
O 11-Recovery of money/property - §542 tummover of property
12-Recovery of money/property - §547 preference
oO 13-Recovery of money/property - §548 fraudulent transfer
Oo 14-Recovery of money/property - other

FRBP 7001(2) - Validity, Priority or Extent of Lien
im 21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) - Approval of Sale of Property
&] 31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
oO 41-Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7001 (5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
CO 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
O 62-Dischargeability - §523(a}(2), false pretenses, false representation,
actual fraud
O 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) — Dischargeability (continued)

O 61-Dischargeability - §523(a)(5), domestic support

O 68-Dischargeability - §523(a)(6), willful and malicious injury

C1 63-Dischargeability - §523(a)(8), student loan

O 64-Dischargeability - §523(a)(15), divorce or separation obligation
(other than domestic support)

(J 65-Dischargeability - other

FRBP 7001(7) — Injunctive Relief
71-Injunctive relief — imposition of stay
oO 72-Injunctive relief - other

FRBP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001(10) Determination of Removed Action
01-Determination of removed claim or cause

Other
(] ss-sipa Case - 15 U.S.C. §§78aaa er.seq.
02-Other (e.g. other actions that would have been brought in state court
if unrelated to bankruptcy case)

 

0 Check if this case involves a substantive issue of state law

© Check if this is asserted to be a class action under FRCP 23

 

 

o Check if a jury trial is demanded in complaint

Demand $

 

Other Relief Sought

 

 
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B104 (FORM 104) (08/07), Page 2

 

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

 

 

 

 

 

 

 

NAME OF DEBTOR Ricardo Frederick White BANKRUPTCY CASE NO.
and Christine Carrie White 17-50116-KKS
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
Northern District of Florida Panama City Karen K. Specie
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE

 

 

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

te

 

 

DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)

Mareh By 2018 Mary W. Colon, Chapter 7 Trustee

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

 
